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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
        v.                                   :       Criminal No. 20-CR-106 (RC)
                                             :
LIRIM SYLEJMANI,                             :
                                             :
                Defendant.                   :


              GOVERNMENT’S MEMORANDUM IN AID OF SENTENCING

        The United States of America hereby submits this sentencing memorandum for defendant

Lirim Sylejmani (“Sylejmani” or “the defendant”). The parties have entered an agreement pursuant

to Federal Rule of Criminal Procedure 11(c)(1)(C) and submit that a sentence of 120 months,

lifetime supervised release and a special assessment of $100 is appropriate for Sylejmani’s sole

count of conviction – Count Three, Receiving Military-Type Training from a Foreign Terrorist

Organization in violation of 18 U.S.C. § 2339D. This sentence is consistent with the applicable

Sentencing Guidelines, reflects the seriousness of Sylejmani’s criminal conduct, and adheres to

the factors in 18 U.S.C. § 3553(a). The requested sentence would adequately serve the interests

of justice and the government submits the following facts and authorities to support the

recommendation.

   I.        Factual Background

        The Islamic State of Iraq and al- Sham, known as ISIS, is a designated foreign terrorist

organization. Specifically, in 2004, the United States Secretary of State designated al Qaeda in

Iraq (“AQI”), then known as Jam’at al Tawhid wa’al-Jihad, as a Foreign Terrorist Organization

(“FTO”) under Section 219 of the Immigration and Nationality Act (the “INA”) and as a Specially

Designated Global Terrorist under Section 1(b) of Executive Order 13224. In 2014, the Secretary



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of State amended the designation of AQI as an FTO under Section 219 of the INA and as a

Specially Designated Global Terrorist entity under Section 1(b) of Executive Order 13224 to add

the alias Islamic State of Iraq and the Levant (“ISIL”) as its primary name. The Secretary also

added a number of aliases to the FTO, including ISIS. To date, ISIS remains a designated FTO

and knowingly providing material support to ISIS is a federal crime.

       Sylejmani is a naturalized American citizen, born in Gjilan, Kosovo, on February 7, 1976.

In approximately 2000, he moved to Chicago, Illinois, and thereafter, sought citizenship based on

his refugee status arising from, according to his immigration file, “ethnic cleaning by Serbs.” The

defendant subsequently became a naturalized United States citizen. In approximately 2002, he

began living with Polish citizen Karolina Katarzyna Suchojad and had several children with her.

In the spring of 2011, he left the United States with his family and returned to Kosovo. He and

his family moved to Canada several months later, where they remained until 2015. During his

time in Canada, the defendant began to embrace Islam.

       By the fall of 2014, the defendant began considering moving his family to join ISIS.

Suchojad converted from Catholicism to Islam and reportedly agreed with the defendant’s plan to

join ISIS. In May 2015, the family moved back to Kosovo. In order to join ISIS, the defendant

worked with an active ISIS member to receive Tazkiyah, or official vouching. Thereafter, the

defendant surrendered to that ISIS member the United States passports issued for him and his

family and received false Syrian identification documents to use for travel to join ISIS. The

defendant was then connected with a smuggler who helped him and his family enter Syria and join

ISIS. In early November 2015, the family flew to Istanbul, Turkey, and ultimately crossed the

Turkish-Syrian border to join ISIS.




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       Beginning in January 2016, the defendant communicated with his Kosovo-based sister,

using Viber and then Surespot. In mid-January 2016, the defendant told his sister that he and his

family were “in the Islamic State.” When his sister asked whether he was working there, the

defendant responded, “No not for the moment …. I had some training to finish and now I am

looking.” His sister asked, “Are you in the war zone … Or in another state.” The defendant replied,

“Now close to Mosul.” When his sister asked if the defendant was satisfied there, the defendant

responded, “I have never been happier.” Although his sister asked the defendant to return to

Kosovo with his family “before something bad happens,” the defendant replied, “Don’t worry

because you will change nothing. Pray to Allah and hope to meet one day when the world will be

free from the infidels.”

       Shortly after entering Syria, the defendant completed his ISIS intake process at an ISIS

guesthouse. He took on the name Abu Sulayman al-Kosovi and began initial entry training with

other ISIS recruits on approximately November 22, 2015. The defendant, his family, and other

ISIS recruits moved to Mosul, Iraq, in late November 2015. In December 2015, the defendant

began his ISIS military and Sharia1 law training. Before graduating from ISIS military training in

mid-December 2015, the defendant pledged “bayat,” or allegiance, to the leader of ISIS and to

ISIS as an organization.

       Upon completion of his military training, the defendant was assigned to the ISIS battalion

in Mosul, Iraq, and was issued his own AK-47, four AK-47 magazines, a belt to hold the magazines

and two grenades. In the spring of 2016, the defendant was paid by the ISIS administrative officer

in Iraqi Dinar for his first three months of service. In May of 2016, the defendant reported for




1
 “Sharia” is a body of religious law of Islam. It constitutes a system of duties that are incumbent
upon all Muslims by virtue of their religious belief.
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guard duty, called “ribat,” on the front line of a military operation undertaken by the Syrian

Defense Forces (“SDF”) against ISIS at the city of Manbij, Syria. He continued to serve as a

fighter for ISIS until he was injured in a battle with Coalition Forces in June 2016. After

recovering from his wounds, the defendant was eventually reassigned to a new battalion in the fall

of 2017 and was paid for his services during that time.

       Between November 2017 and February 2019, the defendant and his family moved

southeast to Baghouz, Syria, as the territorial Caliphate of ISIS collapsed. On February 27, 2019,

the defendant and his family were captured by Coalition Forces in Baghouz. The defendant was

then incarcerated by the SDF in Syria at the Dashisha prison from approximately late February

2019 to May of 2019, and then transferred to the Al-Hasakkah prison where he remained until he

was transferred to United States law enforcement personnel on September 15, 2020, to face

criminal charges in this District.

       After his capture on February 27, 2019, through his transfer to U.S. custody on September

15, 2020, Sylejmani made several relevant statements about his time in ISIS and the duties he

performed for them.

       On March 31, 2019, while incarcerated at Dashisha prison, the defendant was biometrically

enrolled by FBI Special Agents. According to the agents, Sylejmani voluntarily answered

questions which generally consisted of whether he was aware of any imminent threats to SDF or

Coalition Forces or attacks against the United States or Western countries. Sylejmani further

advised that he was unaware of any impending operations by members of ISIS in Iraq or Syria,

nor was he aware of any American hostages or hostages of any other nationality. Sylejmani also

provided information about the date he arrived in Syria, that he swore allegiance to ISIS and

information about his role in ISIS as a civil engineer.



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         On April 16, 2019, Sylejmani was interviewed by journalist Robin Wright of The New

Yorker while detained at the Dashisha prison. According to the article (“The Dangerous Dregs of

ISIS”),2 Sylejmani was interviewed in a “makeshift office” at the prison with his hands cuffed in

the back. Robin Wright, The Dangerous Dregs of Isis, The New Yorker, April 16, 2019, at 4.

Included in the article is a photograph of Sylejmani seated on a rug with an individual who appears

to be a guard standing next to him. Id. As reported in the article, Sylejmani admitted to having

joined ISIS, and claimed that he wanted to live under Sharia law. Id. at 4-5. Sylejmani further

admitted to having received military training in Iraq, where he learned how to operate an AK-47

automatic rifle but claimed that he never fought. Id. at 6.

                           Exhibit A: Snippet from The Dangerous Dregs of ISIS




         On April 21, 2019, approximately three weeks after his initial biometric interview with the

FBI, Sylejmani was again interviewed by the FBI at the Dashisha prison. He was advised of his

rights, both orally and in writing, in English, his preferred language. After the agents read the

Advice of Rights form to him, Sylejmani confirmed that he understood the rights as described on

the form and signed the form, acknowledging that he wished to speak with the agents without

having an attorney present.



2
    Available at: https://www.newyorker.com/news/dispatch/the-dangerous-dregs-of-isis


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         During this interview, Sylejmani admitted to being a member of ISIS, and advised that his

Kunya 3 was “Abu Sulayman Al-Kosovi.” He further admitted that he was aware that ISIS was a

terrorist organization that engaged in beheadings of American citizens. Sylejmani provided

background information and a timeline from living in the United States in 2007 to his move to

Kosovo in 2011. Sylejmani discussed that he and his family moved to Canada in the fall of 2011

and would return to the U.S. every six months for a day or two to reapply for his Canadian work

permit. Sylejmani also discussed his turn toward Islam after his father’s death in 2012 and stated

that he eventually found ISIS videos in 2014 regarding life in the Islamic State and saw Albanians

in some of these videos. Sylejmani described how, in 2015, he and his family moved back to

Kosovo from Canada, during which time Sylejmani learned how to pray at home and he began

attending a mosque. Sylejmani also described how, in 2015, he arranged to have himself and his

family smuggled into Syria through Turkey in order to join ISIS.

         In the April 21, 2019, interview Sylejmani also discussed his training with ISIS, admitting

that the training included 21 days of Sharia and military training in Mosul, Iraq. Sylejmani advised

that military training included classroom instruction on firearms and that each ISIS recruit was

issued an AK-47 rifle. Sylejmani was trained on how to use the AK-47, including practice firing

the weapon. He advised that he also received training on other weapons, including rocket

propelled grenades (RPGs).            Towards the end of military training, each recruit, including

Sylejmani, was called forward to pledge bayat to ISIS leader Abu Bakr Al-Baghdadi and ISIS.

After completion of the training, Sylejmani stated that he was issued an AK-47 rifle, AK-47

ammunition magazines and two grenades. Sylejmani was ultimately assigned to the Tariq bin

Ziyad Battalion, which was split with half of the battalion fighting in Ramadi, Iraq, and the other


3 A kunya is an honorific name in Arabic culture, highlighting an individual’s role as a parent, typically derived
from the name of the person’s first-born son or daughter.

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half stationed in Tall Kayf, Iraq. Sylejmani was initially stationed in Tall Kayf. Sylejmani

admitted that while he was in Mosul, he maintained contact with his family in Kosovo, including

his sister, via a communications application called Viber. Sylejmani stated that his family was

aware that he had joined ISIS. Sylejmani discussed with the FBI his various roles supporting ISIS

in several locations in Syria before his capture, including his assignment to ribat positions on the

front line during SDF’s offensive in Manbij, Syria. Sylejmani claimed that in 2016, he received

shrapnel wounds to his legs, which required treatment at a hospital. He identified himself in a

video recorded in Manbij and provided details about the Albanian Battalion of ISIS fighters.

       During the interview, the agents informed Sylejmani that his interview with The New

Yorker had been published and asked Sylejmani if there were any sections of the article where his

words or actions were not represented accurately. Sylejmani replied that there were two

inaccuracies. Sylejmani claimed that he never told the reporter that his wife had contacts in Canada

and that he never told the reporter when asked about joining ISIS, “I liked to give it a try. It just




didn’t work out.” Agents asked Sylejmani if the rest of the article was accurate and whether he

would accept the article as his own statement, and Sylejmani agreed. Sylejmani was asked to box

off the section that was read to him, initial each page of the article that was read to him, and sign

and date the article. Sylejmani initialed each page, signed and dated the article and wrote “Tru

Statement.”

                     Exhibit B: Snippet from New Yorker article signed by Sylejmani


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       During the interview, Ms. Wright asked Sylejmani if given the chance to live in another

caliphate, would he do it again. Sylejmani responded, “I would. For me, at this point, everything

is religious. This world, sooner or later, will end, like it ends for everybody. For me, it’s important

what comes after.” He continued to state, “We all die. My belief is that we’re put in this world to

worship Allah. So, Inshallah, there will be Jinah, or paradise, after it.” When asked why he hadn’t

become a martyr, Sylejmani responded, ”I like life. I did not come to die here. I came to live

under Sharia. I mean, it was open enrollment.” When Ms. Wright asked Sylejmani if there will

be enough people who believe that creating a new caliphate is still worth it, Sylejmani replied, “I

believe so.”

       Between approximately September 2019 and February 2020, while detained at the

Dashisha prison, Sylejmani provided interviews to four additional media outlets, including CBS

News, the Defense Post, National Public Radio (NPR) and ABC News. During those interviews,

Sylejmani’s statements were generally consistent with the admissions he made in The New Yorker

article, to wit, that he was a member of ISIS.4 When interviewed by CBS News correspondent

Holly Williams, Sylejmani stated that he is American and that he left his home in Chicago to live

under ISIS in 2015. Ms. Williams characterized Sylejmani as “unrepentant,” quoting him as




4
  See James Longman, Caliphate wives share their stories year after ISIS defeat: Reporter’s
Notebook, ABC News, Feb. 19, 2020, https://abcnews.go.com/International/caliphate-wives-
share-stories-year-isis-defeat-reporters/story?id=69055474; Jane Arraf, Visiting Imprisoned ISIS
Fighters, National Public Radio, Dec. 8, 2019, https://www.npr.org/2019/12/08/786039731/
visiting-imprisoned-isis-fighter; Jared Szuba, U.S. citizen ISIS member wants to know why he can’t
go home, The Defense Post, Nov. 19, 2019, https://www.thedefensepost.com/2019/11/19/us-
citizen-isis-syria-lirim-sulejmani/; Holly Williams, ISIS suspects in overcrowded Syrian prison tell
CBS News they’re Americans -Inside a prison full of alleged ISIS fighters, CBS News, September
17, 2019; https://www.cbsnews.com/news/isis-suspects-in-overcrowded-syria-prison-tell-cbs-
news-theyre-american-sdf-says-needs-help-2019-09-17/.



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saying, “[t]he choices that I made, in somebody’s eyes, the wrong choice, so I face jail time.” He

did not believe that he made the wrong decision, saying he “just wanted to live under Islamic law.”

According to ABC News correspondent James Longman, Sylejmani was relaxed, “almost

nonchalant about his time in ISIS.” While Sylejmani said that he regrets his time in ISIS, Mr.

Longman did not sense remorse. Sylejmani was quoted as saying, “I have regrets and I don’t have

regrets.” He explained that he was “making Hijra” to ISIS and said that ISIS was a legitimate

religious state. Sylejmani is quoted as saying, “When you say ‘ISIS,’ it’s like ‘Islamic State.’ For

me, it’s a place ruled under Sharia law. I wanted to live under Islamic law...” He continued to

explain what this would mean to him, saying, “Somebody cheats and admits that, or he has four

witnesses, he’s going to be stoned for it. That’s the way it is – there’s nothing for me to agree or

not agree. I just go blindly by Sharia. I don’t have that much knowledge. I fully support it.”

         On September 15, 2020, Sylejmani was taken into custody by the FBI and transported via

airlift back to the United States. While on the plane, FBI agents gave him his Miranda warnings

again, which he voluntarily waived and then interviewed him. The agents asked Sylejmani about

his statements to multiple media outlets, including ABC News, CBS News, the Defense Post and

NPR. For each report, the agents played for Sylejmani a video or audio of the interview or read

him the article. In each instance, Sylejmani acknowledged that he recalled providing the interview.

Agents also asked whether there were any inaccuracies in any of the statements or articles he

reviewed. Sylejmani noted a few minor corrections or clarifications, but at no time did he retract

his admissions that he had joined ISIS or that he had received military training.

   II.      Procedural History

         On July 7, 2020, a federal grand jury returned a three-count indictment against the

defendant, charging him with the following: one count of Conspiracy to Provide Material Support



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or Resources to a Designated Foreign Terrorist Organization, in violation of 18 U.S.C. § 2339B

(Count 1); one count of Providing or Attempting to Provide Material Support or Resources to a

Designated Foreign Terrorist Organization, in violation of 18 U.S.C. § 2339B (Count 2); and one

count of Receiving Military-Type Training from a Foreign Terrorist Organization, in violation of

18 U.S.C. § 2339D (Count 3). ECF No. 1.

          On December 12, 2024, Sylejmani pled guilty pursuant to a plea agreement to Count Three

of the Indictment. ECF No. 82. Pursuant to Rule 11(c)(1)(C), the agreement contemplates a

sentence of ten years incarceration followed by a lifetime term of supervised release, as agreed to

by the parties. ECF No. 82, ¶ 4. The sentencing hearing is set for April 24, 2025.

   III.      Statutory Penalties

          A violation of 18 U.S.C. § 2339D carries a term of 10 years of imprisonment, a fine of up

to $250,000 pursuant to 18 U.S.C. § 3571(b)(3), or both. A maximum of a lifetime of supervised

release, pursuant to 18 U.S.C. § 3483(j), may also be imposed.

   IV.       Applicable Sentencing Guidelines

          The government agrees with the guidelines calculations from the presentence report, and

has noted no corrections to those calculations. ECF No. 90, ¶ 33- 44. Count Three is a felony

offense for which no guideline has been promulgated. Pursuant to U.S.S.G. §§ 1B1.2(a) and

2X5.1, the most analogous guideline should be used. As Count Three involves the defendant

joining a terrorist organization that provided him military-type training, U.S.S.G. § 2M5.3 is the

most analogous guideline.

          The guideline for a violation of 18 U.S.C. § 2339D is therefore § 2M5.3, which establishes

a base offense level of 26. Because the offense is a felony that involved, or was intended to

promote, a federal crime of terrorism, the offense level is increased by 12 levels. U.S.S.G.



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§3A1.4(a). There are no other specific offense characteristics that add or subtract from the base

offense level.

        Base Offense Level:                          26

        Specific Offense Characteristics:              0

        Victim Related Adjustment:                   +12

        Acceptance of Responsibility:                  -3

        Total Offense Level:                          35


        The defendant has no criminal convictions. However, based on application of the terrorism

enhancement pursuant to U.S.S.G. § 3A1.4(b), the defendant’s criminal history category is

mandated to be Category VI.

        The defendant is not eligible for an adjustment pursuant to U.S.S.G. § 4C1.1 because he

may be subject to an enhancement under U.S.S.G. § 3A1.4. See U.S.S.G. § 4C1.1(a)(2).

        The applicable guideline range for an Offense Level 35 and Criminal History Category VI

is 292-365 months, which is above the statutory maximum. The statutory sentence is 120 months.

Accordingly, the defendant’s estimated sentencing range is 120 months. See U.S.S.G. § 5G1.1.

Should the Court impose a fine, the estimated applicable fine range is $0 to $250,000.

   V.      Sentencing Factors Under 18 U.S.C. 3553(A)

        In this case, sentencing is guided by 18 U.S.C. § 3553(a). As described below, on balance,

the Section 3553(a) factors weigh in favor of a lengthy term of incarceration.

        A. The Nature and Circumstances of the Offense

        The nature and circumstances of the offense are quite serious. ISIS is a group that has

conducted and inspired brutal terrorist attacks worldwide since the early 2000s and continues to




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engage in and promote acts of terrorism in the U.S. and abroad.5 In 2019, an international coalition

ejected ISIS from its last stronghold in Syria, although the group continues to operate clandestinely

there and in Iraq.6 Despite losing many of its leaders and its territory, ISIS remains capable of

conducting insurgent operations in Iraq and Syria while overseeing at least 19 branches and

networks in Africa, Asia, and Europe. Most troubling here, ISIS encourages adherents worldwide

to conduct operations in their own countries using readily available weapons and has previously

deployed operatives abroad to execute attacks. 7 It makes substantial use of social media to recruit

supporters and encourage individuals from around the world to travel to ISIS strongholds to fight

for the caliphate.

       Sylejmani chose to join ISIS, knowing that the group used weapons and violence to

implement its vision. Specifically, Sylejmani was trained by one of the world’s most lethal

organizations on how to use those weapons for the benefit of the caliphate, which is dedicated to

the destruction of the United States and its allies. For years before he was smuggled into Syria,

Sylejmani contemplated joining ISIS. In 2015, he finally moved his whole family, including his

young children, Isabela and Hana to an active war zone in order to do so. He also had a son, Elias,

while he and his family were with ISIS in Syria. He trained on how to use the AK-47 rifle assigned

to him as a member of his battalion. He was injured in a battle against Syrian Defense Forces.

After recovering from his battle injuries, he spent the years from the middle of 2016 until his

capture in early 2019 living and working in Iraqi and Syrian territory subjugated by ISIS to become

its caliphate. The nature and circumstances of the offense are not mere crimes committed on a



5https://www.dni.gov/nctc/ftos/isis_fto.html#:~:text=ISIS%20mostly%20attacks%20military%2
0targets,its%20interpretation%20of%20Islamic%20law.
6 Id.
7https://www.dni.gov/nctc/ftos/isis_fto.html#:~:text=ISIS%20mostly%20attacks%20military%2
0targets,its%20interpretation%20of%20Islamic%20law.
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whim; they are the result of years of planning and calculating, and remaining committed to a

savage terrorist organization for years after he was injured in battle.

       B. The History and Characteristics of the Defendant

       Although the defendant has no criminal history, his first criminal conviction was not

merely a crime of opportunity, but one that required great thought and careful execution. The

conduct is far more than a single, impulsive act. He chose to jeopardize the safety of his family by

bringing them to a war-torn country to join and take up arms for ISIS.

       The history and characteristics of the defendant provide little mitigation for his conduct.

Sylejmani grew up in a middle-class home in Kosovo, where his parents provided well for him

and his siblings. See ECF No. 90, ¶ 55-56. He studied civil engineering at the university level in

Kosovo and was among the top students in his class. See ECF No. 90, ¶ 57. He and his family

fled Kosovo during the war in 1999 and sought asylum in the United States. See ECF No. 90, ¶

58. He became a naturalized citizen and lived with family in Illinois for many years. He is an

intelligent, educated individual who knew what living in a war zone would be like, as his family

sought asylum in the United States as a sanctuary to escape such conditions. He became a United

States citizen, taking a vow to uphold the Constitution and preserve the United States. While it is

true that Sylejmani suffered great loss when his five-year-old daughter passed away, that does not

excuse his conscious decision to move his family to Syria to take up arms for an organization

committed to the destruction of his adopted country, the United States.

       C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense,
          Promote Respect for the Law, and Provide Just Punishment

       The defendant’s sentence must promote respect for the law. The Supreme Court has

recognized combating terrorism as “an urgent objective of the highest order.” Holder v.

Humanitarian Law Project, 561 U.S. 1, 28 (2010). Sylejmani trained with and fought on behalf of


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one of the world’s most violent terrorism groups that has targeted U.S. and coalition forces for

years, as well as the civilians of Syria and Iraq. Just punishment and respect for the law compel a

sentence as significant as the decision Sylejmani made to leave his home with his wife and young

children to join a foreign terrorist organization and fight against the United States and its allies.

          D. The Need for Adequate Deterrence

                   1. General Deterrence

          A significant sentence is needed “to afford adequate deterrence to criminal conduct” by

others. 18 U.S.C.§ 3553(a)(2)(B). The need to deter others is especially strong in cases involving

terrorism, which the defendant’s actions in support of ISIS certainly was. The demands of general

deterrence weigh strongly in favor of incarceration, as they will for nearly every case in which a

defendant provides material support to ISIS. As noted in the Probation Office’s recommendation,

crimes of this nature cause significant societal harm, including increased security threats, as the

type of military training the defendant received can fuel radicalization and recruitment,

encouraging others to follow the same path. This type of training also creates a threat to people

living in the United States, since ISIS has encouraged its supporters to engage in jihad domestically

if they cannot travel to the territory of the caliphate. Unfortunately, ISIS inspired terror attacks

continue to occur in the United States. 8 The sentence of this Court must demonstrate to those

considering supporting a foreign terrorist organization that heavy penalties come with such serious

criminal acts.

                   2. Specific Deterrence

          The need for the sentence to provide specific deterrence to this particular defendant also

weighs heavily in favor of a lengthy term of incarceration. A just sentence must protect the public



8
    https://www.cnn.com/us/live-news/new-orleans-mass-casualty-bourbon-street-01-01-25-hnk/index.html

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from further crimes of the defendant. The impulse to leave one’s naturalized home country and

join an organization dedicated to its downfall does not emerge overnight and does not leave quietly.

See United States v. Meskini, 319 F.3d 88, 91-92 (2d Cir. 2003) (“‘[A]n act of terrorism represents

a particularly grave threat because of the dangerousness of the crime and the difficulty of deterring

and rehabilitating the criminal, and thus . . . terrorists and their supporters should be incapacitated

for a longer period of time.’”). The defendant must know by this Court’s sentence that such acts

of terrorism will not be tolerated.

       While the defendant has accepted responsibility for his actions, his adherence to the violent

beliefs that brought him to Syria to fight for ISIS is highly disturbing. Far more important than

anything he may say now, when he is facing sentencing, are Sylejmani’s own statements, discussed

above, when he was expressing himself freely. These statements demonstrate that this defendant’s

sentence must be sufficient to provide specific deterrence from ever again using or promoting the

use of weapons or violence in pursuit of his ideological goals.

       E. The Need to Avoid Unwarranted Sentencing Disparities

       Section 3553(a)(6) of Title 18 directs a sentencing court to “consider . . . the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct.” So long as the sentencing court “correctly calculate[s] and carefully

review[s] the Guidelines range, [it] necessarily [gives] significant weight and consideration to the

need to avoid unwarranted disparities” because “avoidance of unwarranted disparities was clearly

considered by the Sentencing Commission when setting the Guidelines ranges.” Gall v. United

States, 552 U.S. 38, 54 (2007).

        Section 3553(a)(6) does not limit the sentencing court’s broad discretion “to impose a

sentence sufficient, but not greater than necessary, to comply with the purposes” of sentencing. 18



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U.S.C. § 3553(a). After all, the goal of minimizing unwarranted sentencing disparities in Section

3553(a)(6) is “only one of several factors that must be weighted and balanced,” and the degree of

weight is “firmly committed to the discretion of the sentencing judge.” United States v. Coppola,

671 F.3d 220, 254 (2d Cir. 2012). The “open-ended” nature of the Section 3553(a) factors means

that “different district courts may have distinct sentencing philosophies and may emphasize and

weigh the individual § 3553(a) factors differently; and every sentencing decision involves its own

set of facts and circumstances regarding the offense and the offender.” United States v. Gardellini,

545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095. “As the qualifier ‘unwarranted’ reflects, this provision

leaves plenty of room for differences in sentences when warranted under the circumstances.”

United States v. Brown, 732 F.3d 781, 788 (7th Cir. 2013).

   VI.      Conclusion

   For all these reasons, the United States respectfully asks this Court to sentence Sylejmani to a

term of imprisonment of 120 months, followed by a lifetime term of supervised release.

                                                     Respectfully submitted,

                                                     EDWARD R. MARTIN
                                                     UNITED STATES ATTORNEY
                                                     D.C. Bar No. 481866


                                              By:      /s/ Steven B. Wasserman_______
                                                       Steven B. Wasserman
                                                       D.C. Bar No. 453251
                                                       Kimberly L. Paschall
                                                       D.C. Bar No. 1015665
                                                       Assistant United States Attorneys
                                                       National Security Section

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                                                      601 D Street, N.W.
                                                      Washington, D.C. 20530
                                                       (202) 272-7719 -Wasserman
                                                       (202)-252-2650 - Paschall
                                                       Steve.Wasserman@usdoj.gov
                                                       Kimberly.Paschall@usdoj.gov


                                                        /s/Jennifer E. Levy___________
                                                       Jennifer E. Levy
                                                       D.C. Bar No. 291070
                                                       Trial Attorney
                                                       Counterterrorism Section
                                                       U.S. Department of Justice
                                                       950 Pennsylvania Avenue, N.W.
                                                       Washington, D.C. 20530
                                                       (202) 514-1092
                                                       Jennifer.E.Levy@usdoj.gov


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing pleading has been served upon Ubong
Akpan and Sabrina Shroff, counsel for defendant via the electronic case filing system, this 7th day
of April 2025.


                                              /s/Steven Wasserman______________
                                             STEVEN B. WASSERMAN
                                             Assistant United States Attorney




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